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Katelyn D. Skinner, OSB No. 105055
Email: kds@buckley-law.com
Katrina Seipel, OSB No. 164793
Email: kas@buckley-law.com
Buckley Law, P.C.
5300 Meadows Road, Suite 200
Lake Oswego, OR 97035
Telephone: 503-620-8900
Fax: 503-620-4878
Of Attorneys for Respondent Heidi Brown



                         UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                        Medford Division
In re the Matter of J.P. and E.P.:
                                                   Case No.: 1:24-cv-00648-AA
ARNAUD PARIS,
              Petitioner,
                                                   RESPONDENT’S RESPONSE TO
       and                                         PETITIONER’S EMERGENCY
                                                   MOTION FOR EXPEDITED HEARING
HEIDI MARIE BROWN,
              Respondent.

                    The Convention on the Civil Aspects of International Child Abduction,
                                     Done at the Hague on 25 Oct 1980
                      International Child Abduction Remedies Act, 22 USC § 9001 et seq.

       Respondent Heidi Brown (“Mother”), by and through her attorneys, Katelyn D.
Skinner, Katrina Seipel, and Buckley Law, PC, hereby responds to Petitioner’s Emergency
Motion for Expedited Hearing.
       Mother, contemporaneously with this Response, has filed a Motion to Dismiss the
Petition in this matter pursuant to the fugitive disentitlement doctrine. Mother relies on her
Motion to Dismiss in its entirety in this Response and respectfully requests that this Court
dismiss not only the Petition, but this Motion as well. As elaborated on in Mother’s Motion


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to Dismiss, Father has repeatedly defied Oregon court orders, and he continues to evade
arrest in this country. He should not be permitted to, potentially, reap the benefits of a
judicial system the orders of which he continues to flaunt, when such orders are not to his
liking. As such, it is only proper to dismiss this action based on the fugitive disentitlement
doctrine.
       Should this Court be disinclined to do so, Mother does not object to scheduling a
trial in this matter on the soonest available date that Mother, Father, and the Court are all
available.
Respectfully submitted this 28th day of May, 2024.




                                                     Katrina Seipel, OSB No. 164793
                                                     Email: kas@buckley-law.com
                                                     Katelyn Skinner, OSB No. 105055
                                                     Email: kds@buckley-law.com
                                                     Buckley Law, PC
                                                     5300 Meadows Road, Ste. 200
                                                     Lake Oswego, OR 97035
                                                     Tel: 503-620-8900
                                                     Of Attorneys for Respondent


                                CERTIFICATE OF SERVICE
       I certify that this document was served by e-mail and first-class U.S. mail upon
Petitioner Arnaud Paris, to arnaud@skyvr.com, and to his last known address of 13 rue
Ferdinand Duval, 75004, Paris, France on this 28th day of May, 2024.




                                                     Katrina Seipel, OSB No. 164793
                                                     Of Attorneys for Respondent
                                                     kas@buckley-law.com



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EXPEDITED HEARING
